      Case 9:23-cv-80282-RLR Document 3 Entered on FLSD Docket 02/24/2023 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                Southern District
                                                 __________       of Florida
                                                             District  of __________

     ROBERT SCOT BUILDING VENTURE LLC;                            )
            and RSBV Pathway LLC,                                 )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No.          9:23-cv-80282-RLR
                                                                  )
 CREATIVE WEALTH MEDIA FINANCE CORP; and                          )
              JASON CLOTH,
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Creative Wealth Media Finance Corp.
                                       151 Bloor St. West, Suite 700
                                       Toronto, Ontario M5S 1S4




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Scott Wagner
                                       Bilzin Sumber Baena Price & Axelrod LLP
                                       1450 Brickell Avenue, 23rd Floor
                                       Miami, FL 33131




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT

            Feb 24, 2023
Date:
                                                                                       Signature of Clerk or s/ R. Bissainthe
                                                                                                             Deputy  Clerk
      Case 9:23-cv-80282-RLR Document 3 Entered on FLSD Docket 02/24/2023 Page 2 of 2

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                                      UNITED STATES DISTRICT COURT
                                                               for the
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     ROBERT SCOT BUILDING VENTURE LLC;                            )
            and RSBV Pathway LLC,                                 )
                                                                  )
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                            Plaintiff(s)                          )
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                                v.                                       Civil Action No.           9:23-cv-80282-RLR
                                                                  )
 CREATIVE WEALTH MEDIA FINANCE CORP; and                          )
              JASON CLOTH,
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jason Cloth
                                       20 Stratheden Road
                                       North York, Ontario M5S 1S4




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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                                                                            CLERK OF COURT

            Feb 24, 2023
Date:
                                                                                       Signature of Clerk or s/ R. Bissainthe
                                                                                                             Deputy  Clerk
